Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 1 of 8 Page ID #:1




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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Gary Scherer,                           Case No.

12               Plaintiff,
                                               Complaint For Damages And
13       v.                                    Injunctive Relief For Violations
                                               Of: American’s With Disabilities
14     Alfred M. Beridon, in individual        Act; Unruh Civil Rights Act
       and representative capacity as
15     trustee of The Beridon Trust dated
       April 28, 1992;
16     Rhonda R. Beridon, in individual
       and representative capacity as
17     trustee of The Beridon Trust dated
       April 28, 1992;
18     Trevor L. Beridon;
       Ryan D. Beridon;
19     Canoga Park Hand Car Wash, a
       California Corporation; and Does 1-
20     10,

21               Defendants.

22
23         Plaintiff Gary Scherer complains of Alfred M. Beridon, in individual and

24   representative capacity as trustee of The Beridon Trust dated April 28, 1992;

25   Rhonda R. Beridon, in individual and representative capacity as trustee of The

26   Beridon Trust dated April 28, 1992; Trevor L. Beridon; Ryan D. Beridon;

27   Canoga Park Hand Car Wash, a California Corporation; and Does 1-10

28   (“Defendants”), and alleges as follows:


                                           1

     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 2 of 8 Page ID #:2




 1     PARTIES:
 2     1. Plaintiff is a California resident with physical disabilities. He suffers
 3   from a form of ataxia that significantly impairs his mobility and thus uses a
 4   wheelchair for mobility.
 5     2. Defendants Alfred M. Beridon and Rhonda R. Beridon, in individual
 6   and representative capacity as trustee of The Beridon Trust dated April 28,
 7   1992, owned the real property located at or about 21004 Sherman Way,
 8   Canoga Park, California, in October 2019.
 9     3. Defendants Alfred M. Beridon and Rhonda R. Beridon, in individual
10   and representative capacity as trustee of The Beridon Trust dated April 28,
11   1992, owns the real property located at or about 21004 Sherman Way, Canoga
12   Park, California, currently.
13     4. Defendants Trevor L. Beridon and Ryan D. Beridon owned the real
14   property located at or about 21004 Sherman Way, Canoga Park, California, in
15   October 2019.
16     5. Defendants Trevor L. Beridon and Ryan D. Beridon own the real
17   property located at or about 21004 Sherman Way, Canoga Park, California,
18   currently.
19     6. Defendant Canoga Park Hand Car Wash, a California Corporation,
20   owned Canoga Park Hand Car Wash located at or about 21004 Sherman Way,
21   Canoga Park, California, in October 2019.
22     7. Defendant Canoga Park Hand Car Wash, a California Corporation,
23   owns Canoga Park Hand Carwash (“Car Wash”) located at or about 21004
24   Sherman Way, Canoga Park, California, currently.
25     8. Plaintiff does not know the true names of Defendants, their business
26   capacities, their ownership connection to the property and business, or their
27   relative responsibilities in causing the access violations herein complained of,
28   and alleges a joint venture and common enterprise by all such Defendants.


                                            2

     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 3 of 8 Page ID #:3




 1   Plaintiff is informed and believes that each of the Defendants herein,
 2   including Does 1 through 10, inclusive, is responsible in some capacity for the
 3   events herein alleged, or is a necessary party for obtaining appropriate relief.
 4   Plaintiff will seek leave to amend when the true names, capacities,
 5   connections, and responsibilities of the Defendants and Does 1 through 10,
 6   inclusive, are ascertained.
 7
 8     JURISDICTION & VENUE:
 9     9. The Court has subject matter jurisdiction over the action pursuant to 28
10   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
11   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
12     10. Pursuant to supplemental jurisdiction, an attendant and related cause
13   of action, arising from the same nucleus of operative facts and arising out of
14   the same transactions, is also brought under California’s Unruh Civil Rights
15   Act, which act expressly incorporates the Americans with Disabilities Act.
16     11. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
17   founded on the fact that the real property which is the subject of this action is
18   located in this district and that Plaintiff's cause of action arose in this district.
19
20     FACTUAL ALLEGATIONS:
21     12. Plaintiff went to the Car Wash in October 2019 with the intention to
22   avail himself of its services, motivated in part to determine if the defendants
23   comply with the disability access laws.
24     13. The Car Wash is a facility open to the public, a place of public
25   accommodation, and a business establishment.
26     14. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
27   to provide accessible paths of travel leading into the restroom in conformance
28   with the ADA Standards as it relates to wheelchair users like the plaintiff.


                                               3

     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 4 of 8 Page ID #:4




 1     15. On information and belief, the defendants currently fail to provide
 2   accessible paths of travel leading into the restroom.
 3     16. Additionally, on the date of the plaintiff’s visit, the defendants failed to
 4   provide accessible restrooms in conformance with the ADA Standards as it
 5   relates to wheelchair users like the plaintiff.
 6     17. On information and belief, the defendants currently fail to provide
 7   accessible restrooms.
 8     18. Moreover, on the date of the plaintiff’s visit, the defendants failed to
 9   provide accessible table surfaces in conformance with the ADA Standards as it
10   relates to wheelchair users like the plaintiff.
11     19. On information and belief, the defendants currently fail to provide
12   accessible table surfaces.
13     20. These barriers relate to and impact the plaintiff’s disability. Plaintiff
14   personally encountered these barriers.
15     21. By failing to provide accessible facilities, the defendants denied the
16   plaintiff full and equal access.
17     22. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     23. The defendants have failed to maintain in working and useable
20   conditions those features required to provide ready access to persons with
21   disabilities.
22     24. The barriers identified above are easily removed without much
23   difficulty or expense. They are the types of barriers identified by the
24   Department of Justice as presumably readily achievable to remove and, in fact,
25   these barriers are readily achievable to remove. Moreover, there are numerous
26   alternative accommodations that could be made to provide a greater level of
27   access if complete removal were not achievable.
28     25. Plaintiff will return to the Car Wash to avail himself of its services and


                                              4

     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 5 of 8 Page ID #:5




 1   to determine compliance with the disability access laws once it is represented
 2   to him that the Car Wash and its facilities are accessible. Plaintiff is currently
 3   deterred from doing so because of his knowledge of the existing barriers and
 4   his uncertainty about the existence of yet other barriers on the site. If the
 5   barriers are not removed, the plaintiff will face unlawful and discriminatory
 6   barriers again.
 7     26. Given the obvious and blatant nature of the barriers and violations
 8   alleged herein, the plaintiff alleges, on information and belief, that there are
 9   other violations and barriers on the site that relate to his disability. Plaintiff will
10   amend the complaint, to provide proper notice regarding the scope of this
11   lawsuit, once he conducts a site inspection. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied. See
13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
14   encounters one barrier at a site, he can sue to have all barriers that relate to his
15   disability removed regardless of whether he personally encountered them).
16
17   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
18   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
19   Defendants.) (42 U.S.C. section 12101, et seq.)
20     27. Plaintiff re-pleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint.
23     28. Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods and services of any
25   place of public accommodation is offered on a full and equal basis by anyone
26   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
27   § 12182(a). Discrimination is defined, inter alia, as follows:
28             a. A failure to make reasonable modifications in policies, practices,


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     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 6 of 8 Page ID #:6




 1                or procedures, when such modifications are necessary to afford
 2                goods,     services,    facilities,   privileges,   advantages,   or
 3                accommodations to individuals with disabilities, unless the
 4                accommodation would work a fundamental alteration of those
 5                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 6            b. A failure to remove architectural barriers where such removal is
 7                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 8                defined by reference to the ADA Standards.
 9            c. A failure to make alterations in such a manner that, to the
10                maximum extent feasible, the altered portions of the facility are
11                readily accessible to and usable by individuals with disabilities,
12                including individuals who use wheelchairs or to ensure that, to the
13                maximum extent feasible, the path of travel to the altered area and
14                the bathrooms, telephones, and drinking fountains serving the
15                altered area, are readily accessible to and usable by individuals
16                with disabilities. 42 U.S.C. § 12183(a)(2).
17     29. When a business provides paths of travel, it must provide accessible
18   paths of travel.
19     30. Here, accessible paths of travel have not been provided.
20     31. When a business provides facilities such as restrooms, it must provide
21   accessible restrooms.
22     32. Here, accessible restrooms have not been provided.
23     33. When a business provides facilities such as table surfaces, it must
24   provide accessible table surfaces.
25     34. Here, accessible table surfaces have not been provided.
26     35. The Safe Harbor provisions of the 2010 Standards are not applicable
27   here because the conditions challenged in this lawsuit do not comply with the
28   1991 Standards.


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     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 7 of 8 Page ID #:7




 1      36. A public accommodation must maintain in operable working condition
 2   those features of its facilities and equipment that are required to be readily
 3   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 4      37. Here, the failure to ensure that the accessible facilities were available
 5   and ready to be used by the plaintiff is a violation of the law.
 6
 7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 8   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 9   Code § 51-53.)
10      38. Plaintiff repleads and incorporates by reference, as if fully set forth
11   again herein, the allegations contained in all prior paragraphs of this
12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
13   that persons with disabilities are entitled to full and equal accommodations,
14   advantages, facilities, privileges, or services in all business establishment of
15   every kind whatsoever within the jurisdiction of the State of California. Cal.
16   Civ. Code §51(b).
17      39. The Unruh Act provides that a violation of the ADA is a violation of the
18   Unruh Act. Cal. Civ. Code, § 51(f).
19      40. Defendants’ acts and omissions, as herein alleged, have violated the
20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
21   rights to full and equal use of the accommodations, advantages, facilities,
22   privileges, or services offered.
23      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
24   discomfort or embarrassment for the plaintiff, the defendants are also each
25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
26   (c).)
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     Complaint
Case 2:20-cv-00282-AB-RAO Document 1 Filed 01/10/20 Page 8 of 8 Page ID #:8




 1          PRAYER:
 2          Wherefore, Plaintiff prays that this Court award damages and provide
 3   relief as follows:
 4       1. For injunctive relief, compelling Defendants to comply with the
 5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 6   plaintiff is not invoking section 55 of the California Civil Code and is not
 7   seeking injunctive relief under the Disabled Persons Act at all.
 8       2. Damages under the Unruh Civil Rights Act, which provides for actual
 9   damages and a statutory minimum of $4,000 for each offense.
10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
     Dated: January 4, 2020           CENTER FOR DISABILITY ACCESS
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14
15
16                                    By:________________________________

17                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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     Complaint
